Case 2:18-cv-00035-APG-NJK Document 28-3 Filed 06/14/18 Page 1 of 2



                   Thomas Declaration Attachments

 Attachment A     Domain Tools Report
 Attachment B     Select GoDaddy Documents
 Attachment C     MyEx Website Terms of Use 2012
 Attachment D     MyEx Website Privacy Policy 2012
 Attachment E     MyEx Website Add Your Ex 2012
 Attachment F     MyEx Website Make A Post 2013
 Attachment G     MyEx Website Submit Your Ex 2015
 Attachment H     MyEx Website Landing Page 2013
 Attachment I     MyEx ID # 2012
 Attachment J     MyEx ID # 2013
 Attachment K     MyEx Website Landing Page 2016
 Attachment l     MyEx Website Add Your Ex 2013
 Attachment M     MyEx Website Terms of Use 2013
 Attachment N     MyEx Website Make a Post 2013
 Attachment O     MyEx Website Submit Your Ex 2014
 Attachment P     MyEx Website Landing and Search Page Sept. 2012
 Attachment Q     MyEx Website Landing and Search Page March 19, 2013
 Attachment R     MyEx Website Landing and Search Page March 25, 2013
 Attachment S     MyEx Website Landing and Search Page May 2013
 Attachment T     MyEx Website Landing and Search Page June 2013
 Attachment U     MyEx Website Submit My Ex 2016
 Attachment V     MyEx Website Contact Us 2013
 Attachment W     MyEx Website Removal Policy Oct. 2013
 Attachment X     MyEx Website Removal Policy Dec. 2013
 Attachment Y     MyEx Website Removal Policy March 2014
 Attachment Z     MyEx Website Landing Page 2014
 Attachment AA    MyEx Website Removal Policy June 2014
 Attachment BB    MyEx Website Submit Your Ex 2017
 Attachment CC    MyEx Website Landing Page Aug. 2017
 Attachment DD    MyEx Website Search and Sort Images and Videos 2017
 Attachment EE    MyEx Website Landing Page Sept. 2017
 Attachment FF    MyEx Website Comment 2017
 Attachment GG    MyEx Website Total Number of pages 2018
 Attachment HH    MyEx Website Google Search Results 2017
 Attachment II    EMP Media Secretary of State Records
 Attachment JJ    Bank of America Account Documents, EMP Media, Inc.
 Attachment KK    Bank of America Account Documents, EMP DBA Internet Secrets
 Attachment LL    Bank of America Account Documents, EMP DBA Post My Ad
 Attachment MM    Bank of America Account Documents, EMP DBA T & A Media
 Attachment NN    Nevada DMV Records
 Attachment OO    Court Documents Related to Applegate Name Change
 Attachment PP    MyEx Website Advertising
 Attachment QQ    MyEx Website Advertising Sales Email and Response
 Attachment RR    MyEx Website Advertising Sales Follow Up Email
Case 2:18-cv-00035-APG-NJK Document 28-3 Filed 06/14/18 Page 2 of 2



 Attachment SS    Traffichaus Earning Statement
 Attachment TT    Traffichaus Advertisement URL
 Attachment UU    Consumer Sentinel Complaints
